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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JANET MONGE,                                       :
                                                    :
                         Plaintiff,                 :
                                                    :
         v.                                         :    CASE NO. 2:22-CV-02942-GEKP
                                                    :
 UNIVERSITY OF PENNSYLVANIA, et al.                 :
                                                    :
                         Defendant.                 :

         DEFENDANT PAUL MITCHELL’S REPLY BRIEF IN SUPPORT OF
     HIS MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

        Defendant Paul Mitchell, by and through his undersigned counsel, hereby submits the

following reply brief in support of the Motion of Defendant Paul Mitchell to Dismiss Plaintiff’s

Second Amended Complaint, ECF No. 144 (the “Motion”), and in response to Plaintiff’s

Memorandum of Law in Opposition to Defendant’s Motion to Dismiss Plaintiff’s Second

Amended Complaint, ECF No. 149 (the “Opposition”).

I.      INTRODUCTION

        Plaintiff Janet Monge, Ph.D. (“Plaintiff”) was given a second opportunity, by this Court,

to replead her dismissed claims against Mr. Mitchell if: 1) she could establish that Mr. Mitchell

acted with actual malice when publishing the challenged statements; and 2) if she could allege

sufficient factual matter to state a clam of civil aiding and abetting that is plausible on its face.

See ECF No. 127, Memorandum Opinion (“Memorandum Opinion”) at pp. 12-22. Plaintiff, in

her Second Amended Complaint, failed to accomplish either directive.

        Moreover, instead of availing herself of the opportunity to meaningfully replead her

claims, Plaintiff misguidedly devotes the bulk of her Opposition, and a large portion of her

Second Amended Complaint, to her attempt to relitigate her status as a public figure. See



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generally Opposition. This Court, in its ruling on Mr. Mitchell’s motion to dismiss Plaintiff’s

first complaint, conclusively determined that Plaintiff was a limited purpose public figure. See

Memorandum Opinion at p. 12. Plaintiff’s attempts to relitigate her status are futile and

improper.

        As such, Plaintiff has, again, failed to state a claim for relief against Mr. Mitchell because

Plaintiff has failed to establish actual malice or to support her claim for civil aiding and abetting.

Accordingly Plaintiff’s Second Amended must be dismissed against Mr. Mitchell, with

prejudice.

II.      ARGUMENT

        A.      Plaintiff’s Opposition Establishes That Mr. Mitchell’s Statement at Issue is
                Not Capable of Defamatory Meaning

        Plaintiff’s Opposition completely ignores the early April 2021 statements Mr. Mitchell

allegedly made to Dr. Christopher Woods and ignores the paper Mr. Mitchell wrote regarding the

human remains in Plaintiff’s possession from the MOVE bombing. See Opposition at pp. 26-28.

Instead, Plaintiff’s Opposition focuses exclusively on her conclusory allegations that it was

“Mitchell, assisted by Kasutto, who made up the false information supplied to the other

defendants.” See Opposition at p. 28. The false information Plaintiff claims Mr. Mitchell shared

was a declaration that Plaintiff “harbors racist animus against persons of African descent despite

the fact that [he] know[s] – as her former mentee[] – that she had spent her entire career seeking

to bring respect and humanity to identify remains of persons of all races. Id.

        This alleged false declaration is not capable of a defamatory meaning because claiming

that someone has racist tendencies is a non-actionable opinion because it “convey[s the]

subjective belief of the speaker” and is based on disclosed facts. See Meyers v. Certified Guar.

Co., 221 A.3d 662, 670 (Pa. Super. Ct. 2019); see also McCafferty v. Newsweek Media Grp.,


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Ltd., 955 F.3d 352, 357 (3d. Cir. 2020) (holding that characterizations that “they are defending

raw racism and sexual abuse” were non-defamatory pure opinions). Additionally, this Court has

already found that any insinuations of racist motives stemming from Ms. Kasutto’s article at

issue are, as a matter of law, non-actionable pure opinions. See ECF No. 124 at pp. 9-10. The

Court held that “[t]his implication is based on […] substantially true, and thus, non-defamatory

facts which were disclosed in the Billy Penn article.” Id. at p. 10. See also Memorandum

Opinion at pp. 18-19 (holding that “[a]ny implication that [Plaintiff’s] actions were motivated by

a racially based animus is a non-actionable pure opinion” and that “[w]hether or not Dr. Monge’s

conduct was racially motivated is an opinion, and that opinion does not imply the allegation of

undisclosed defamatory facts.”). Accordingly, Plaintiff’s argument that Mr. Mitchell and

Ms. Kasutto’s purported declaration that Plaintiff “harbors racist animus against persons of

African descent” is insufficient to establish Plaintiff’s claims. Thus, Mr. Mitchell is entitled to

judgment in his favor as to Plaintiff’s defamation claims.

        B.      Plaintiff Fails to Establish the Requisite Element of Actual Malice Under Her
                Claims for Defamation, Defamation by Implication and False Light

        Plaintiff, in her Opposition, acknowledges that this Court has found Plaintiff to be a

limited purpose public figure, yet she dedicates a significant portion of her Opposition to arguing

the opposite. See Opposition at pp. 15-17, 24-26. Plaintiff claims, without any support, that the

“law of the case doctrine does not preclude Plaintiff from repleading these issues given the

ambiguities in the Court’s prior Orders and the fact that the Court explicitly requested that

Plaintiff replead her claims.” Opposition at p. 13. In this Court’s decision on Mr. Mitchell’s

Motion to Dismiss Plaintiff’s Amended Complaint and in at least three of this Court’s other

decisions on co-defendants’ motions to dismiss Plaintiff’s First Amended Complaint, the Court

provides a thorough analysis as to whether Plaintiff was a limited purpose public figure. See


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Memorandum Opinion at pp. 11-13;Monge v. Univ. of Pennsylvania, No. CV 22-2942, 2023

WL 3571935, at *13-*14 (E.D. Pa. May 19, 2023); Monge v. Univ. of Pennsylvania, No. CV 22-

2942, 2023 WL 3594471, at *5-*6 (E.D. Pa. May 22, 2023); and Monge v. Univ. of

Pennsylvania, No. CV 22-2942, 2023 WL 3692935, at *6-*7 (E.D. Pa. May 26, 2023). In the

Memorandum Opinion, this Court unambiguously holds that “Dr. Monge is a limited public

figure with respect to the MOVE bombing and the identification of the MOVE remains—both of

which are public controversies—and she became a limited public figure in 2019 when she

published her course on the Coursera online platform.” See Memorandum Opinion at p. 12.

        Further, while Plaintiff is correct that the Court allowed Plaintiff the opportunity to

replead some of her claims, the Court was unequivocal in its holding that, because Plaintiff was a

limited public figure, she was provided leave to replead her defamation, false light, and

defamation by implication claims against Mr. Mitchell only where she could allege actual

malice, not to rehash her status as a private figure. Id. at p. 13, 15, 18-20.

        “Under the law of the case doctrine, once an issue is decided, it will not be relitigated in

the same case, except in unusual circumstances.” Hayman Cash Reg. Co. v. Sarokin, 669 F.2d

162, 165 (3d Cir. 1982). “The purpose of this doctrine is to promote the ‘judicial system’s

interest in finality and in efficient administration.’” Id. (internal citation omitted). This doctrine

ensures that “when a court decides upon a rule of law, that decision should continue to govern

the same issues in subsequent stages in the same case.” In re Cont'l Airlines, Inc., 279 F.3d 226,

233 (3d Cir. 2002); see also, In re Pharmacy Benefit Managers Antitrust Litigation, 582 F.3d

432, 439 (3d Cir. 2009) (The “[l]aw of the case rules have developed ‘to maintain consistency

and avoid reconsideration of matters once decided during the course of a single continuing

lawsuit.’”) (citations omitted). Courts should “be loathe to [reverse prior rulings] in the absence



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of extraordinary circumstances such as where the initial decision was clearly erroneous and

would make a manifest injustice.” In re Pharmacy Benefit Managers Antitrust Litigation, 582

F.3d at 439 (quoting Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816 (1988)). In

addition to that narrow class of cases where the prior ruling was “manifestly unjust,” the type of

“extraordinary circumstances” that warrant a court's reconsideration of an issue decided earlier in

the course of litigation typically exist only where (1) new evidence is available, or (2) a

supervening new law has been announced. Id. (citing Pub. Interest Research Group of N.J., Inc.

v. Magnesium Elektron, Inc., 123 F.3d 111, 117 (3d Cir. 1997)).

        Plaintiff has not identified any “unusual circumstances” or any manifest injustices that

would prevent the application of the law of the case doctrine here. Sarokin, 669 F.2d at 165;

Kim v. Villanova Univ., No. CV 21-1879, 2022 WL 3913547, at *8 (E.D. Pa. Aug. 30, 2022),

dismissed, No. 22-2820, 2023 WL 3272408 (3d Cir. Feb. 6, 2023). She has not pointed to newly

discovered evidence suggesting that she is not a limited purpose public figure. United Artists

Theatre Cir., Inc. v. Twp. of Warrington, 316 F.3d 392, 397 n.4 (3d Cir. 2003). Plaintiff has also

not identified a supervening new law or demonstrated that the Court's earlier decision was

“clearly erroneous and would create manifest injustice.” Id. Therefore, the law of the case

applies, and the Court's prior finding that Plaintiff's is a limited purpose public figure governs.

        Plaintiff was directed by this Court that, if she endeavored to revive her defamation,

defamation by implication, and false light claims against Mr. Mitchell, she was required to allege

facts, in her Second Amended Complaint, that would support an inference of actual malice.

Plaintiff failed to follow this Court’s directive, however, because the only additions to her

Second Amended Complaint were allegations concerning Mr. Mitchell’s dislike of Plaintiff and

threadbare conclusory statements that are insufficient to survive the 12(b)(6) pleading hurdle.



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Plaintiff’s failure to allege sufficient facts that support an inference of actual malice is due to

Plaintiff’s inability to establish actual malice against Mr. Mitchell because Mr. Mitchell did not

publish any defamatory statements with knowledge that they were untrue. Instead, as set forth in

the Motion, Mr. Mitchell’s conclusions were well-researched and accompanied by citation to

various third-party resources. Thus, Plaintiff’s defamation, defamation by implication, and false

light claims must fail.

        As noted above, Plaintiff’s Opposition tacitly concedes that Mr. Mitchell did not publish

either the early April 2021 statements allegedly made to Dr. Christopher Woods or the paper

Mr. Mitchell wrote with actual malice because Plaintiff fails to put forth any argument as to

these two categories of statements identified in Plaintiff’s Second Amended Complaint. See

Opposition at pp. 26-28. Instead, Plaintiff’s Opposition focuses solely on her conclusory

allegations that it was “Mitchell, assisted by Kasutto, who made up the false information

supplied to the other defendants.” See Opposition at p. 28. The false information Plaintiff

claims Mr. Mitchell shared was a declaration that Plaintiff “harbors racist animus against persons

of African descent despite the fact that [he] know[s] – as her former mentee[] – that she had

spent her entire career seeking to bring respect and humanity to identify remains of persons of all

races. Id. Plaintiff concludes that “[t]hese allegations make clear that at all times, Mitchell knew

the allegations he made were false, and he made those allegations for the purposes of lifting

himself up, while destroying Dr. Monge.” Id. Contrary to Plaintiff’s assertions, these

allegations are not sufficient to establish actual malice for three reasons: 1) Plaintiff’s claims that

Mr. Mitchell knew the allegations he made were false are conclusory, and are thus insufficient to

state a claim for relief; 2) as set forth in the Motion, Plaintiff’s allegations and references to the

paper that Mr. Mitchell prepared undermine her conclusion that the allegations Mr. Mitchell



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made were knowingly false; and 3) Plaintiff’s allegations of Mr. Mitchell’s disdain for Plaintiff

do not establish “textbook actual malice.”

        In her Opposition, Plaintiff argues, in conclusory fashion, that “Mitchell knew the

allegations he made were false[.]” See Opposition at p. 28. This and similar allegations made in

Plaintiff’s Second Amended Complaint are the same conclusory recital of “actual-malice

buzzwords” that were found to be insufficient by this Court in its Memorandum Opinion. See

Memorandum Opinion at pp. 12-13, 15, 18, 20. Specifically, this Court held that allegations that

Mr. Mitchell acted with knowledge that he was falsifying information is a conclusory allegation

that is “insufficient to establish that Mr. Mitchell acted with reckless disregard for the truth, or

that he entertained a ‘high degree of awareness of [the] probable falsity’ of the statements

because Plaintiff provides no factual support for the[] allegation[s].” See Memorandum Opinion

at p. 13 (citing Gertz v. Robert Welch, Inc., 418 U.S. 323, 332 (1974)). Accordingly, Plaintiff’s

conclusory allegations in her Second Amended Complaint also cannot overcome Mr. Mitchell’s

motion to dismiss. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        Further, Plaintiff’s conclusory allegations that Mr. Mitchell made knowingly false

statements about Plaintiff are completely contradicted by the record. Tellingly, Plaintiff, in her

Opposition, fails to make any argument related to the paper that was drafted by Mr. Mitchell and

that is the subject of multiple allegations in Plaintiff’s Second Amended Complaint. See

generally Opposition. As detailed in Mr. Mitchell’s brief in support of his Motion, the paper

drafted by Mr. Mitchell was prepared based on copious research that Mr. Mitchell conducted.

The paper also directly references and cites to numerous newspaper articles as well as documents

that were archived and are stored at Temple University’s Special Collections Research Center,

Charles Library, relating to the Philadelphia Special Investigative Commission for the Move



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Bombing. See ECF No. 144, Exhibit A. The Paper includes a linked bibliography which

provided links to primary sources that Mr. Mitchell relied upon. Id. Plaintiff completely fails to

address how Mr. Mitchell, in his well-researched, well-cited paper upon which Plaintiff relies to

assert her claims for defamation and false light, could possibly support her claim that

Mr. Mitchell knowingly made false claims about Plaintiff. See generally Opposition. Thus, not

only are Plaintiff’s threadbare, conclusory allegations insufficient, but they are also belied by the

very document upon which she rests those claims. Thus, Plaintiff has failed to meet her high

burden of establishing actual malice. See Masson v. New Yorker Mag., Inc., 501 U.S. 496, 510

(1991); Gertz 418 U.S. at 332.

        In a last-ditch attempt to revive her defamation, defamation by implication, and false

light claims against Mr. Mitchell, Plaintiff amended her complaint to include allegations of

Mr. Mitchell’s bias towards her. Plaintiff’s Opposition doubles-down on this strategy, and

Plaintiff merely argues that Mitchell made false allegations against Plaintiff “to ruin her

reputation the way he felt she had tried to [ruin his]” and “for the purposes of lifting himself up

while destroying Dr. Monge.” See Opposition at p. 28.1 These allegations, however, are

insufficient to establish actual malice because the heightened standard is not met through a

showing of ill will in the ordinary sense. Joseph v. Scranton Times, LP, 129 A.3d 404, 437-37



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        Plaintiff, throughout this litigation, has included a significant amount of detail regarding
untrue and harmful allegations made against Mr. Mitchell. Many of these claims attack not only
Mr. Mitchell’s personal character, but also allege professional and criminal misconduct. See
Second Amended Complaint at ¶ ¶ 120-26; and Opposition at pp. 7-8, 12-13. These allegations
have been reproduced by Plaintiff in dozens of public filings. As alleged by Plaintiff, she made
these allegations in or around April of 2021 (outside of the litigation process) and admits that
these allegations against Mr. Mitchell were determined to be unfounded. See Second Amended
Complaint at ¶ ¶ 124-25; Opposition at 12-13. This conduct constitutes defamation per se. See
Syngy, Inc. v. Scott-Levin, Inc., 51 F. Supp. 2d 570, 580 (E.D. Pa. 1999). Thus, while Plaintiff
claims Mr. Mitchell had an axe to grind, Plaintiff is the only party who has admittedly made
false statements about another party.

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(Pa. 2015). While it cannot be said that evidence concerning motive or care never bears any

relation to the actual malice inquiry, the Supreme Court of the United States has emphasized that

the “actual malice standard is not satisfied merely through a showing of ill will or ‘malice’ in the

ordinary sense of the term.” Harte-Hanks Commc'ns, Inc. v. Connaughton, 491 U.S. 657, 667-

68 (1989) (emphasis added). Moreover, the Supreme Court specifically advised that courts must

be careful not to place too much reliance on factors such as motive. Id. at 668. Accordingly,

Plaintiff’s factual allegations concerning Plaintiff’s intent, without more, are insufficient to

establish actual malice, and, accordingly, Plaintiff’s claims must be dismissed.

        C.      Plaintiff Fails to State a Claim of Civil Aiding and Abetting as to
                Mr. Mitchell

        Plaintiff fails to state an actionable claim for civil aiding and abetting because her

conclusory and threadbare allegations in the Second Amended Complaint are insufficient to state

a claim for relief. Plaintiff’s Opposition clarifies that she is asserting her civil aiding and

abetting claim against Mr. Mitchell pursuant to Section 876(c) of the Restatement (Second) of

Torts. See Opposition at pp. 22-23 and 29. Pennsylvania courts, however, have not recognized

whether a cause of action exists under subsection (c).2 See Stanco v. Sekelsky, No. 3:22-CV-

00573, 2023 WL 2577240 at *8, n.2 (M.D. Pa. Mar. 20, 2023). Further, even if a Pennsylvania

court would recognize a cause of action under subsection (c), Plaintiff’s claim still fails because

Plaintiff does not sufficiently allege that any of the defendants caused a “tortious result,” let

alone that all defendants did. Equally fatal to Plaintiff’s aiding and abetting claim brought under




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        Plaintiff cites to Sovereign Bank v. Valentino, 2006 Pa. Super. 338 (2006) for the
proposition that the Pennsylvania Superior Court noted that Pennsylvania has adopted Section
876 of the Restatement (Second) of Torts addressing the tort of civil aiding and abetting. See
Opposition at p. 20. The Court in Valentino, however, focuses on Section 876 subsection b, not
subsection c, which Plaintiff claims is at issue here.

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Section 876(c), is Plaintiff’s inability to establish that Mr. Mitchell owed a duty to Plaintiff, and

that Mr. Mitchell breached such duty. See Second Amended Complaint; Restatement (Second)

of Torts §876(c). Moreover, Plaintiff fails to allege more than mere conclusory allegations

regarding the additional requisite element of “substantial assistance” because, like with

Plaintiff’s First Amended Complaint, her Second Amended Complaint fails to allege facts

demonstrating how Mr. Mitchell aided the publication of the many articles at issue in this

litigation. Accordingly, Plaintiff’s allegations regarding her civil aiding and abetting claim

against Mr. Mitchell still do not “contain sufficient factual matter … to state a claim to relief that

is plausible on its face.” See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). As such, Plaintiff’s

claim of civil aiding and abetting must be dismissed.

III.    CONCLUSION

        For the foregoing reasons and for those set forth at length in his underlying Motion, as

well as its supporting Brief, Defendant Paul Mitchell respectfully requests that Plaintiff’s Second

Amended Complaint be dismissed in its entirety as to Defendant Paul Mitchell, with prejudice.

                                                               FISHER & PHILLIPS LLP

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                                 CERTIFICATE OF SERVICE

        I, Ivy Waisbord, Esquire, hereby certify that on the 11th day of October 2023, a true and

correct copy of the foregoing Defendant Paul Mitchell’s Reply Brief in Support of his Motion to

Dismiss Plaintiff’s Second Amended Complaint was filed electronically with the Clerk of the

Court using the Court’s ECF system, which will send notification of such filing to counsel of

record at the e-mail address on file with the Court.



                                                              /s/Ivy Waisbord
                                                             Ivy Waisbord, Esquire




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